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 7

 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11   FEDERAL TRADE COMMISSION,                     )        Case No.:
                                                   )
12                             Plaintiff,          )
                            v.                     )        COMPLAINT FOR PERMANENT
13                                                 )        INJUNCTION AND OTHER
     GOLDEN SUNRISE NUTRACEUTICAL,                 )        EQUITABLE RELIEF
14   INC., a corporation,                          )
15                                                 )
     GOLDEN SUNRISE PHARMACEUTICAL, )
16   INC., a corporation,                          )
                                                   )
17   HUU TIEU, individually and as an officer of   )
     Golden Sunrise Nutraceutical, Inc. and Golden )
18   Sunrise Pharmaceutical, Inc., and             )
19                                                 )
     STEPHEN MEIS, individually and as an officer )
20   of Golden Sunrise Nutraceutical, Inc.,        )
                                                   )
21                             Defendants.         )
     _______________________________________ )
22

23          Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:

24          1.      The FTC brings this action under Section 13(b) of the Federal Trade Commission

25 Act (“FTC Act”), 15 U.S.C. § 53(b), to obtain temporary, preliminary, and permanent injunctive

26
     relief, rescission or reformation of contracts, restitution, the refund of monies paid, disgorgement of
27
     ill-gotten monies, and other equitable relief for Defendants’ acts or practices in violation of Sections
28
     5(a) and 12 of the FTC Act, 15 U.S.C. §§ 45(a) and 52, in connection with the labeling, advertising,

                                FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 1
 1 marketing, distribution, and sale of products they claim will treat, prevent, or cure COVID-19,

 2 cancer, and Parkinson’s Disease.

 3
                                      JURISDICTION AND VENUE
 4
            2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),
 5
     and 1345.
 6
            3.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1), (b)(2), and (c)(1), and
 7

 8 15 U.S.C. § 53(b).

 9                                                   PLAINTIFF
10          4.      The FTC is an independent agency of the United States Government created by
11
     statute. 15 U.S.C. §§ 41–58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),
12
     which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also
13
     enforces Section 12 of the FTC Act, 15 U.S.C. § 52, which prohibits false advertisements for food,
14

15 drugs, devices, services, or cosmetics in or affecting commerce.

16          5.      The FTC is authorized to initiate federal district court proceedings, by its own

17 attorneys, to enjoin violations of the FTC Act and to secure such equitable relief as may be

18 appropriate in each case, including rescission or reformation of contracts, restitution, the refund of

19
     monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. § 53(b).
20
                                               DEFENDANTS
21
            6.      Defendant Golden Sunrise Nutraceutical, Inc. is a Delaware corporation with its
22

23 principal place of business at 219 North E Street, Porterville, California 93257. Defendant Golden

24 Sunrise Nutraceutical transacts or has transacted business in this District and throughout the United

25 States. At all times material to this Complaint, acting alone or in concert with others, Defendant

26
     Golden Sunrise Nutraceutical has advertised, marketed, distributed, or sold products to consumers
27
     throughout the United States.
28
            7.      Defendant Golden Sunrise Pharmaceutical, Inc. is a California corporation with its

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 2
 1 principal place of business at 560 West Putnam Avenue, Suite 2, Porterville, California 93257.

 2 Defendant Golden Sunrise Pharmaceutical transacts or has transacted business in this District and

 3
     throughout the United States. At all times material to this Complaint, acting alone or in concert with
 4
     others, Defendant Golden Sunrise Pharmaceutical has advertised, marketed, distributed, or sold
 5
     products to consumers throughout the United States.
 6
            8.      Defendant Huu Tieu (“Tieu”) is the President and Chief Executive Officer of
 7

 8 Defendants Golden Sunrise Nutraceutical and Golden Sunrise Pharmaceutical. At all times material

 9 to this Complaint, acting alone or in concert with others, he has formulated, directed, controlled,

10 had the authority to control, or participated in the acts and practices of Defendants Golden Sunrise

11
     Nutraceutical and Golden Sunrise Pharmaceutical, including the acts and practices set forth in this
12
     Complaint. Defendant Tieu resides in this District and, in connection with the matters alleged
13
     herein, transacts or has transacted business in this District and throughout the United States.
14

15          9.      Defendant Stephen Meis (“Meis”) is the Medical Director of Defendant Golden

16 Sunrise Nutraceutical and a member of its board of directors. At all times material to this

17 Complaint, acting alone or in concert with others, he has formulated, directed, controlled, had the

18 authority to control, or participated in the acts and practices of Defendants Golden Sunrise

19
     Nutraceutical and Golden Sunrise Pharmaceutical, including the acts and practices set forth in this
20
     Complaint. Defendant Meis resides in this District and, in connection with the matters alleged
21
     herein, transacts or has transacted business in this District and throughout the United States.
22

23                                        COMMON ENTERPRISE

24          10.     Defendants Golden Sunrise Nutraceutical and Golden Sunrise Pharmaceutical

25 (collectively, “Corporate Defendants” or “Golden Sunrise”) have operated as a common enterprise

26
     while engaging in the deceptive acts and practices alleged below. Corporate Defendants have
27
     conducted the business practices described below through an interrelated network of companies that
28
     have common ownership, officers, managers, business functions, employees, and office locations.

                                FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 3
 1 Because these Corporate Defendants have operated as a common enterprise, they are partners in

 2 concerted wrongdoing and liable for the acts and practices alleged below. Defendants Tieu and

 3
     Meis have formulated, directed, controlled, had the authority to control, or participated in the acts
 4
     and practices of the Corporate Defendants that constitute the common enterprise and are partners in
 5
     the concerted wrongdoing of the common enterprise.
 6
                                                 COMMERCE
 7

 8          11.     At all times material to this Complaint, Defendants have maintained a substantial

 9 course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act, 15

10 U.S.C. § 44.

11
                                     DEFENDANTS’ BUSINESS ACTIVITIES
12
                           Defendants’ Product Offerings and General Marketing
13
            12.     Since at least 2016, Defendants have promoted and sold a variety of products labeled
14

15 as dietary supplements. Defendants claim that these products provide numerous health benefits,

16 including in the treatment of serious diseases.

17          13.     On their Golden Sunrise Nutraceutical homepage, Defendants claim that their
18 products can effectively treat serious diseases and other medical conditions:

19

20

21

22

23

24

25

26

27

28 (www.GoldenSunriseNutraceutical.com, captured on May 26, 2020).


                                FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 4
 1          14.     On their Golden Sunrise Pharmaceutical homepage, Defendants repeat the claim that

 2 their products treat numerous serious diseases or disorders.

 3
            15.     Defendants also claim that their products are safe and effective:
 4
                    a)      On Defendants’ Golden Sunrise Nutraceutical homepage, they claim that
 5
                    their “soft approach has led to the development of effective Golden Sunrise
 6
                    Nutraceutical herbal (botanical) products that have helped give a safe and effective
 7

 8                  use for many patients while efficiently improving the condition without harmful

 9                  ‘side-effects’ leading to healthier patient.” (Emphasis in original).
10                  b)      On their Golden Sunrise Pharmaceutical homepage, Defendants similarly
11
                    claim that their “soft approach has led to the development of effective Golden
12
                    Sunrise Pharmaceutical herbal/botanical products that have helped give a safe and
13
                    effective use for many patients while efficiently improving the condition without
14

15                  harmful ‘side-effects’ leading to healthier patient.” (Emphasis in original).

16          16.     Defendants market their supplements individually and collectively through four

17 “plans of care”: (a) Primary Plan of Care; (b) Emergency D-Virus Plan of Care; (c) Metabolic Plan

18 of Care; and (d) Cancer Plan of Care.

19
            17.     Defendants market their treatment plans as providing consumers safe, effective
20
     treatment for serious diseases.
21
            18.     On their Golden Sunrise Nutraceutical homepage, Defendants expressly state that
22

23 their plans “are intended to treat, modify, reverse, or cure a Serious or Life-threatening disease or

24 condition; and real-world evidence indicates that the Golden Sunrise Nutraceutical treatments have

25 potential to address unmet medical needs for such disease or condition.” (Emphasis in original).

26
            19.     Defendants market their treatment plans as virtual cure-alls for serious illnesses.
27
     Defendants’ Golden Sunrise Nutraceutical homepage lists 29 health conditions that the treatment
28
     plans purportedly treat or cure:

                                FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 5
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18
     (www.GoldenSunriseNutraceutical.com, captured on May 26, 2020).
19

20          20.    On their Golden Sunrise Pharmaceutical homepage, Defendants list 18 health

21 conditions that the treatment plans purportedly treat or cure and state:

22

23

24

25

26

27

28
     (www.GoldenSunrisePharmaceutical.com, captured on May 26, 2020).

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 6
 1          21.     Defendants claim their products and treatment plans promote longevity of life. On

 2 their Golden Sunrise Nutraceutical homepage, Defendants state their “products and treatments

 3
     improve Telomeres for cellular rejuvenation which increases overall-health to the body and can
 4
     increase human longevity.”
 5
            22.     Defendants claim on their Golden Sunrise Nutraceutical website that their products
 6
     have been reviewed and accepted by the FDA, including through the following claims:
 7

 8                  a)      “All Golden Sunrise Nutraceutical products are in compliance with Food and

 9                  Drug Administration (FDA) regulations. All necessary documentation on each of the
10                  products was submitted to the FDA”; and
11
                    b)      Their product ImunStem received a National Drug Code on July 2, 2018.
12
            23.     In the product description documents for their Metabolic and Cancer treatment plans,
13
     Defendants also claim that their products are “designated as a Regenerative Medicine Advance
14

15 Therapy (RMAT) by the Food & Drug Administration (FDA).”

16          24.     In their product description document for the Emergency D-Virus treatment plan,

17 Defendants claim that (a) their products “have proven themselves” to the FDA and (b) one of their

18 products “was the first dietary supplement in the United States to be approved as a prescription

19
     medicine and also for the indication to treat Serious or Life-threatening conditions. It qualified for
20
     both of these under the Regenerative Medicine Advance Therapy (RMAT) . . . . This designation
21
     acknowledges not only the effectiveness of these herbs, usually only associated with pharmaceutical
22

23 drugs, but also [that they] caus[e] no side effects, a quality of dietary supplements.” (Emphasis in

24 original).

25          25.     In fact, Defendants’ products are not approved by the FDA as RMATs or under any
26
     other designation.
27

28


                                FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 7
 1                            Defendants’ Treatment Plan Ingredients and Pricing

 2          26.       Despite representing their treatment plans to contain “metabolic therapies” that will
 3
     effectively treat “Serious or Life-threatening conditions,” the dietary supplements contained in
 4
     Defendants’ treatment plans consist almost entirely of common herbs and spices.
 5
            27.       Two products—ImunStem and Aktiffvate— form the core of all four of Defendants’
 6
     treatment plans and are the sole products in their Primary plan.
 7

 8          28.       ImunStem and Aktiffvate generally contain common herbs and spices as their

 9 primary ingredients:

10                    a)     ImunStem’s primary ingredients are 260mg of olive leaf extract, 52mg of
11
                      yarrow extract, and 63mg of rosemary extract per serving; and
12
                      b)     Aktiffvate’s primary ingredients are 175mg of turmeric extract, 40mg of
13
                      cayenne extract, and 20mg of eucalyptus extract per serving.
14

15          29.       Defendants’ Emergency D-Virus treatment plan adds two more products—

16 AnterFeeron-1 and AnterFeeron-2—to the Primary plan’s ImunStem and Aktiffvate products.

17          30.       Like ImunStem and Aktiffvate, both AnterFerron-1 and AnterFerron-2 generally
18 contain common herbs and spices as their primary ingredients:

19
                      a)     AnterFerron-1’s primary ingredients are 40mg of bilberry leaf, 120mg of
20
                      graviola, and 80mg of goldenseal per serving; and
21
                      b)     AnterFerron-2’s primary ingredients are 45mg of mistletoe, 20mg of
22

23                    astragalus, and 95mg of reishi per serving.

24          31.       Defendants’ Metabolic treatment plan adds 10 more products to the Emergency D-

25 Virus plan’s product list. Defendants market these additional products as CrProtein, DetoxHerb-1,

26
     DetoxHerb-2, DetoxHerb-NR, DetoxHerb-PI, HyProtein-1, HyProtein-2, HyProtein-3, HyProtein-4,
27
     and LyProtein.
28


                                 FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 8
 1          32.    Like the other four products in the Metabolic treatment plan, the 10 additional

 2 products in the Metabolic treatment plan generally contain common herbs and spices as their

 3
     primary ingredients:
 4
                   a)       CrProtein’s primary ingredients are 35mg of cat’s claw, 10mg of selfheal,
 5
                   and 20mg of rosemary;
 6
                   b)       DetoxHerb-1’s primary ingredients are 100mg of poke weed, 65mg of
 7

 8                 graviola, and 17mg of turmeric;

 9                 c)       DetoxHerb-2’s primary ingredients are 110mg of olive leaf, 70mg of papaya
10                 leaf, and 120mg of vinca;
11
                   d)       DetoxHerb-NR’s primary ingredients are 60mg of gotu kola, 35mg of foti,
12
                   and 45mg of vinca;
13
                   e)       DetoxHerb-PI’s primary ingredients are 40mg of bilberry, 120mg of graviola,
14

15                 and 50mg of goldenseal;

16                 f)       HyProtein-1’s primary ingredients are 95mg of astralagus, 40mg of oregano,

17                 and 70mg of cat’s claw;
18                 g)       HyProtein-2’s primary ingredients are 40mg of green tea, 75mg of reishi, and
19
                   55mg of blood root;
20
                   h)       HyProtein-3’s primary ingredients are 60mg of garlic, 30mg of turmeric, and
21
                   45mg of ashwagandha;
22

23                 i)       HyProtein-4’s primary ingredients are 25mg of garlic, 30mg of reishi, and

24                 50mg of St. John’s wort; and

25                 j)       LyProtein’s primary ingredients are 25mg of horse chestnut, 40mg of garlic,
26
                   and 50mg of turmeric.
27
            33.    Defendants’ Cancer treatment plan consists of 14 products, 10 of which are the same
28
     as in the Metabolic plan. The remaining four products in the Cancer treatment plan are KemoHerb

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 9
 1 products that replace the DetoxHerb products featured in the Metabolic plan.

 2          34.     The ingredients in the KemoHerb and DetoxHerb products are nearly identical:
 3
                    a)      KemoHerb-1 and DetoxHerb-PI contain the exact same ingredients in slightly
 4
                    different amounts per serving;
 5
                    b)      KemoHerb-2 contains the exact same primary ingredients as DetoxHerb-2 in
 6
                    slightly different amounts per serving;
 7

 8                  c)      KemoHerb-NR and DetoxHerb-NR contain the exact same ingredients in the

 9                  exact same amounts per serving; and
10                  d)      KemoHerb-PI and DetoxHerb-PI contain the exact same ingredients in the
11
                    exact same amounts per serving.
12
            35.     According to information available on Defendants’ websites, the list price for both
13
     the Metabolic and Cancer treatment plans is $170,000—$200,000.
14

15                         Defendants’ False and Unsubstantiated Disease Claims

16          36.     Defendants promote their products and treatment plans through their Golden Sunrise

17 websites, testimonial videos, social media, physical billboards, and other marketing materials.

18 Through these means, Defendants have widely disseminated advertising and other marketing that

19
     represents their products and treatment plans as preventing, treating, or curing serious, life-
20
     threatening diseases, including COVID-19, cancer, and Parkinson’s disease.
21
            Defendants’ COVID-19 Claims: Emergency D-Virus Plan of Care
22

23          37.     In March 2020, Defendants began marketing their Emergency D-Virus treatment

24 plan as a cure for COVID-19.

25          38.     To induce consumers to purchase the Emergency D-Virus treatment plan as a
26
     treatment for COVID-19, Defendants have disseminated or caused to be disseminated
27
     advertisements and marketing materials through websites, social media, and physical billboards.
28


                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 10
 1          39.    Defendants’ advertisements of their Emergency D-Virus treatment plan typically

 2 direct consumers to a product description document available on Defendants’ Golden Sunrise

 3
     Nutraceutical website.
 4
            40.    Until approximately May 11, 2020, Defendants expressly claimed in the product
 5
     description document that their Emergency D-Virus treatment plan could effectively treat COVID-
 6
     19. Defendants represented in the document that:
 7

 8                 a)         “Stephen R. MEIS, M.D., Board Certified, I strongly recommend Golden

 9                 Sunrise Nutraceutical Incorporation herbal products ImunStem and Aktiffvate, along
10                 with their AnterFeerons product, as uniquely qualified to treat and modify the
11
                   course of the Coronavirus epidemic in CHINA and other countries” (emphasis in
12
                   original);
13
                   b)         With increased use of one of the supplements included in the Emergency D-
14

15                 Virus treatment plan, “disappearance of viral symptoms is expected within two (2) to

16                 four (4) days”;

17                 c)         The recommended dietary supplements “are available now and once they are
18                 started, they will help alleviate the people immediately [sic] with the acute illness of
19
                   the Coronavirus”;
20
                   d)         “Physicians have observed that using Emergency D-Virus Plan of Care
21
                   provokes a significant response, i.e., a reduction in symptoms in patients with the
22

23                 COVID-19 virus”; and

24                 e)         “Up until now, because there has been no effective treatment, the effort of

25                 controlling the COVID-19 virus pandemic has necessitated a preventative approach
26
                   . . . Now with the EMERGENCY D-Virus Plan of Care showing effective treatment
27
                   for the COVID-19 virus, the focus can change, at [sic] it should, from prevention to
28
                   treatment. . . . Prompt administration of this treatment will significantly diminish the

                                 FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 11
 1                  occurrence of serious cases and need for hospitalization.” (Emphasis in original).

 2

 3
            41.     The FTC issued a warning letter to Defendant Golden Sunrise Pharmaceutical on
 4
     April 29 demanding that it remove all unsubstantiated claims that their product could prevent, treat,
 5
     or cure COVID-19.
 6
            42.     In response to the FTC’s warning letter, Defendants modified their marketing
 7

 8 materials to replace “COVID-19 virus” with terms such as “the virus,” “viral,” or “the viral

 9 pandemic.”

10          43.     In the revised materials, Defendants continue to represent that their Emergency D-
11
     Virus treatment plan can effectively treat COVID-19. These materials state that:
12
                    a)      “Stephen R. MEIS, M.D., Board Certified (Dr. Meis), I strongly recommend
13
                    Golden Sunrise Nutraceutical Incorporation herbal products ImunStem and
14

15                  Aktiffvate, along with their AnterFeerons product, as uniquely qualified to treat and

16                  modify the course of the virus epidemic in CHINA and other countries” (emphasis

17                  in original);
18                  b)      With increased use of one of the supplements included in the Emergency D-
19
                    Virus treatment plan, “disappearance of viral symptoms is expected within two (2) to
20
                    four (4) days”;
21
                    c)      The recommended dietary supplements “are available now and once they are
22

23                  started, they will help alleviate the people immediately [sic] with the acute illness of

24                  the virus”;

25                  d)      “Physicians have observed that using Emergency D-Virus Plan of Care
26
                    provokes a significant response, i.e., a reduction in symptoms in patients with the
27
                    virus”; and
28
                    e)      “Up until now, because there has been no effective treatment, the effort of

                                  FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 12
 1                 controlling the viral pandemic has necessitated a preventative approach . . . Now

 2                 with the EMERGENCY D-Virus Plan of Care showing effective treatment for the
 3
                   virus, the focus can change, at [sic] it should, from prevention to treatment. . . .
 4
                   Prompt administration of this treatment will significantly diminish the occurrence of
 5
                   serious cases and need for hospitalization.” (Emphasis in original).
 6
            44.    On their Golden Sunrise Pharmaceutical website, Defendants have promoted their
 7

 8 Emergency D-Virus treatment plan as a treatment for COVID-19. Defendants installed and

 9 maintained a prominent banner advertisement announcing “NEW COVID-19 TREATMENT

10 EMERGENCY D-Virus Plan of Care” on their Golden Sunrise Pharmaceutical homepage that

11
     directed consumers to the original product description document.
12
            45.    In response to the FTC’s warning letter, Defendants reworded the banner
13
     advertisement on their Golden Sunrise Pharmaceutical homepage to “Innovative Virus Treatment
14

15 EMERGENCY D-Virus Plan of Care,” which directed consumers to the revised product description

16 document via hyperlink.

17          46.    Defendants removed the banner advertisement from their Golden Sunrise
18 Pharmaceutical webpage on or about June 5, 2020. However, Defendants continue to maintain the

19
     “Innovative Virus Treatment EMERGENCY D-Virus Plan of Care” banner advertisement on their
20
     Golden Sunrise Nutraceutical homepage, and the banner ad continues to direct consumers to the
21
     revised product description document described in Paragraph 43 via hyperlink.
22

23          47.    On their Golden Sunrise Nutraceutical Facebook account, Defendants promote their

24 Emergency D-Virus treatment plan with four posts that were created in March and April 2020:

25                 a)      In a March 3 Facebook post, Defendants posted materials they describe as
26
                   “the best Coronavirus advice I have seen yet!” The materials claim: “There is one
27
                   company with a proven cure. WHO and CDC don’t want to use it because it is not in
28
                   vaccine form but an oral formula. Golden Sunrise Pharmaceutical /Nutraceutical []

                              FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 13
 1                 Tested and Proven in Wuhan.”

 2                 b)      In a March 18 Facebook post, Defendants claim that products in their
 3
                   Emergency D-Virus treatment plan, “ImunStem, Aktiffvate, and AnterFeeron are
 4
                   now on the market, especially in the current global situation of new coronavirus
 5
                   invasion, they will immediately help relieve patients with acute disease of
 6
                   coronavirus. . . . The efficacy of this product [i.e. treatment plan] has been witnessed
 7

 8                 by countless users!”

 9                 c)      In an April 9 Facebook post, Defendants reprint the text of and provide a link
10                 to an article in a local newspaper in which Defendant Meis:
11
                        i) Promotes ImunStem and Aktiffvate as potential treatments for COVID-19,
12
                           with the article profiling a particular consumer who allegedly improved
13
                           because of the treatment; and
14

15                      ii) Claims “ImunStem, a dietary supplement, was approved by the Food and

16                         Drug Administration in 2018 as a treatment for serious, life threatening

17                         conditions.”
18                 d)      In an April 16 Facebook post, Defendants posted an advertisement containing
19
                   an image substantially similar to their billboard advertisements, stating “GO GO
20
                   CHECK THE TREATMENT” and providing a link to their Golden Sunrise
21
                   Nutraceutical website.
22

23          48.    Defendants are also marketing the Emergency D-Virus treatment plan as a “NEW

24 COVID-19 Treatment” through at least four billboards in California, each of which looks

25 substantially similar to the following:

26

27

28


                              FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 14
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     (Photo taken July 8, 2020, on California State Route 198)
16
             Defendants’ Cancer Claims: Metabolic and Cancer Plans of Care
17
             49.    Defendants also market their Metabolic and Cancer treatment plans as cures for
18

19 cancer.

20           50.    To induce consumers to purchase their Metabolic and Cancer treatment plans,
21 Defendants have disseminated or caused to be disseminated advertisements and marketing materials

22
     through their websites and social media accounts.
23
             51.    Defendants’ Golden Sunrise Nutraceutical website contains more than a dozen
24
     videos claiming that their products treat, cure, or prevent serious disease, including six videos
25

26 promoting their products as cures for cancer. These videos are accessible on Defendants’ Golden

27 Sunrise Nutraceutical homepage by clicking on a conspicuous “Testimonial” navigation menu

28 option and are posted on their Golden Sunrise Nutraceutical YouTube account.


                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 15
 1          52.     Two promotional videos that Defendants disseminated in mid-2017 feature an

 2 endorsement by a now-deceased former NFL quarterback who was diagnosed with cancer and who

 3
     claims that Defendants’ Cancer treatment plan is superior to chemotherapy as a cancer treatment. In
 4
     these two videos, subtitled “NFL Quarterback has Amazing Results with ImunStem & Aktiffvate
 5
     for Cancer, Part 1” and “NFL Quarterback has Results with KemoHerb for Cancer, Part 2,” the
 6
     endorser states:
 7

 8                  a)      “I was able to take a product called KemoHerb which changed my life. My

 9                  Kemo therapy was able to rip the skin off that, off the tumor and expose it so that the
10                  body and the white blood count which had been raised from the ImunStem and the
11
                    Aktiffate could kill it. The KemoHerb, yeah, it set me back for a couple of days, but I
12
                    flushed my system like it has never been flushed before. It was the most powerful
13
                    detox I ever felt in my life”;
14

15                  b)      “I was on the product from Golden Sunrise Pharmaceuticals for about three

16                  days; I told my wife I don’t feel the tumor anymore. Now, I’m not playing, and I

17                  wasn’t trying to make her feel good at that point in time; previously I was. But this
18                  has been over ten days now and I have not felt the tumor inside my esophagus at all.
19
                    There is no question in my mind, no doubt in my mind that the tumor is shrinking. I
20
                    haven’t had any pain”;
21
                    c)      “I can’t be more proud, I can’t be more honest, and I can’t be more truthful to
22

23                  tell you that I honest to goodness believe that I have been delivered from the hand of

24                  God with the help of Golden Sunrise Pharmaceuticals. We’ve cured cancer. I truly

25                  believe at this point. I can’t feel it anymore; I haven’t felt it in about six or seven
26
                    days. I truly believe that the cancer has been cured. I’ve never felt better; I wake up
27
                    every morning with zest”; and
28
                    d)      “I am here to tell you that without any chemo, without any radiation, and

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 16
 1                  without any surgery, I feel better today than I when I left the NFL in 1992.”

 2          53.     Another promotional video titled “Cancer Breakthroughs with KemoHerb” and
 3
     disseminated on or about June 2017 similarly claims that Defendants’ products cure cancer. In the
 4
     video, a woman who claims to have been diagnosed with cancer says that Defendants’ products
 5
     purged cancer from her body. She states she “called Golden Sunrise Pharmaceuticals to see what
 6
     were some of the things coming out of me [from an unusual bowel movement after taking
 7

 8 KemoHerb], and they said that it was the cancer. . . . and they said it was part of the healing, and I

 9 felt like a different person. I would like to thank Golden Sunrise Pharmaceutical for giving me my

10 life back.”

11
            54.     A final set of three videos claim that Defendants’ products can treat cancer and
12
     reduce the side effects of chemotherapy. The last in the set, titled “Cancer Breakthroughs, Another
13
     Cancer Patient Successful Results Treated with KemoHerb, Part 3 of 3” and created on or about
14

15 June 2017, represents Defendants’ Cancer treatment plan—specifically Defendants’ KemoHerb

16 product—to be an alternative to chemotherapy that treats cancer. In that video, another individual

17 who claims to have been diagnosed with cancer also says that Defendants’ products purged cancer

18 from his body. In the video, he explains how Defendants told him that:

19
                    a)      KemoHerb will “strip the edges off the tumors and expose them so that the
20
                    body’s own immune system can attack”;
21
                    b)      An unusual bowel movement “sounds like the shell—like the mucus sac that
22

23                  the tumor is in . . . fifteen minutes later, another bowel movement happened, this

24                  time though it was this like brownish red, like a spider web-looking substance in the

25                  toilet, and I called them and I said ‘all right,’ I said, ‘what is this?’ and they said it
26
                    sounds like the outside of the tumor’s shell”; and
27
                    c)      “Golden Sunrise Pharmaceuticals told me, they said as you continue to do
28
                    KemoHerb, what’s going to happen is, as your cancer cells get weaker, your body is

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 17
 1                  going to start feeling stronger, and you will feel it. They said but what also will

 2                  happen is your platelets will start going up and your white count will go up too, and
 3
                    what they said what that means is your immune system is taking over the cancer and
 4
                    basically being in control.”
 5
            55.     The other two videos in the series, titled “Cancer Breakthrough Successful Results –
 6
     Part 1 of 3” and “Cancer Breakthroughs, Another Cancer Patient Successful Results Treatment, Part
 7

 8 2 of 3,” feature a purported cancer patient who claims that two products in Defendants’ treatment

 9 plans—ImunStem and Aktiffvate—reduce the side effects of chemotherapy. In the “Part 1” video,

10 which is also available on Defendants’ Golden Sunrise Pharmaceutical Facebook account, the

11
     purported patient represents:
12
                    a)      “During the meeting with Golden Sunrise, I was told that this product [i.e.,
13
                    the therapy] would do amazing things for me. . . . I was told was the product would
14

15                  rebuild my stem cells and make them larger like they were, like they were before”;

16                  b)      “I was also told that the stem, that the cells rebuild faster than the chemo

17                  could tear it apart, that it supersede the chemo and I probably would not lose my hair
18                  . . . They told me that the product [i.e., the therapy] would build my immune system
19
                    up to where as I go through chemo, my side effects should be not much more than
20
                    getting a flu shot or a mild flu”;
21
                    c)      “I left that day with the products [ImunStem and Aktiffvate], went home,
22

23                  started taking them, and this was three days prior to my next round of chemo; within

24                  two days, the sores in my mouth had cleared up; the pains in my hips and my

25                  neuropathy were a little bit less intense”;
26
                    d)      “After the next round of chemo, the third round of chemo, Golden Sunrise I
27
                    called them up and I said ‘do you have any suggestions for me?’ and they said to
28
                    increase your dosage—the day before chemo, during chemo triple your dosage the

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 18
 1                 day after, it will kinda help to offset the side effects of the chemo. Well, as I did that,

 2                 my mouth, the sores in my mouth cleared up instantly”;
 3
                   e)      “When I asked Golden Sunrise about [wounds healing more quickly], they
 4
                   said that’s because my immune system is being rebuilt by the oils, and my body
 5
                   heals more normally compared to somebody who suffers from chemo and their body
 6
                   does not, does not heal”;
 7

 8                 f)      “As the Aktiffvate and ImunStem built up in my system, and repaired my

 9                 system, I was able to handle the chemo with very little side effects”; and
10                 g)      “My body is tolerating the chemo very well, and I believe that’s strictly
11
                   because of Golden Sunrise products and the way they build a barrier against the
12
                   chemo so I get the benefits but don’t get the suffering. And without Golden Sunrise,
13
                   I’d be very scared to know where I’d be right now.”
14

15          56.    Defendants’ Golden Sunrise Nutraceutical website contains a section titled “Cancer

16 is Primary [sic] a Metabolic Disease” that concludes by stating:

17                 “Golden Sunrise Nutraceutical dietary supplements have established
                   their safety and efficacy in helping to reverse, modify, or heal Serious
18                 or Life-threatening conditions. They cause release of toxins out of
19                 the cells and at the same time the herbs supply the essential nutrients
                   which the cells have been starving for. These nutrients serve as
20                 building blocks allowing the cells to repair and rejuvenate themselves
                   and return the cells to perform the functions they were intended to
21                 perform.” (Emphasis in original).
22
            57.    Defendants’ Golden Sunrise Nutraceutical website also contains a section titled
23
     “Treatment,” where product description documents for the Emergency D-Virus, Metabolic, and
24
     Cancer treatment plans are posted that claim:
25
                   a)      The Metabolic Plan of Care “is a preventative for cancer, which primarily is a
26

27                 metabolic problem like our other diseases”;

28                 b)      “The METABOLIC Plan of Care is also designed as a preventative plan of


                              FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 19
 1                care to arrest or reverse the metabolic abnormalities at the cellular level leading to

 2                the development of cancer cells” (emphasis in original);
 3
                  c)     The Metabolic treatment plan is “given to flush the system and aim at
 4
                  arresting the development of the metabolic disorders. The treatments are continued
 5
                  in order to support the elimination of metabolic disorders”;
 6
                  d)     “The administration of herbal (botanical) CANCER Plan of Care treatments
 7

 8                for human health has led to the benefit of cancer treatments from plant based

 9                materials” (emphasis in original);
10                e)     “CANCER Plan of Care treatment begins with the use of ImunStem and
11
                  Aktiffvate to improve the immune system function. Then the administration of
12
                  KemoHerbs are given to flush the system and attempt arresting the development of
13
                  the cancer. The treatments are continued in order to support and attempt elimination
14

15                of cancer cells” (emphasis in original); and

16                f)     The Cancer treatment plan “arrests the fermentation process and the cancer.”

17         58.    Defendants’ Golden Sunrise Nutraceutical website contains a section titled “The
18 Evidence Our Science,” where Defendants also claim:

19
                  “The CANCER Plan of Care is the key for the effectiveness on the
20                immune system and cellular metabolism. They have immune-
                  stimulating properties. In-vivo studies on treated patients demonstrate
21                increasing phagocytic activity and synthesis of helper cell function.
                   CANCER Plan of Care have shown to transform Deoxyribonucleic
22
                  Acid / Ribonnucleic Acid (DNA / RNA) repair, before, during and
23                after chemotherapy drugs, prescription drugs, toxic exposure and
                  chemical induced damage. The variety of Golden Sunrise
24                Nutraceutical herbals / botanical[s] have many effects including
                  antioxidants activity and anit-inflammatory [sic] properties.”
25
                                              *        *   *
26

27                METABOLIC Plan of Care possess a bipolarity and a lipophilicity
                  that facilitates molecular diffusion through various permeable and
28                selective membranes. In-vivo studies on test subjects have indicated
                  that the cell membrane integrity remains intact and is not disrupted or

                             FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 20
 1                 destroyed in the process of assimilating into the cell, thus ensuring
                   long-term effectiveness. The technology developed by Golden
 2                 Sunrise Nutraceutical is the key for the effectiveness on immune
                   system and cellular metabolism. They have immune-stimulating
 3
                   properties. In-vivo studies on treated patients demonstrate increasing
 4                 phagocytic and synthesis of helper cell function. METABOLIC Plan
                   of Care have shown to transform Deoxyribonucleic Acid /
 5                 Ribonucleic Acid (DNA / RNA) repair, before during and after
                   chemotherapy drugs, prescription drugs, toxic exposure and chemical
 6                 induced damage. The variety of these herbals / botanical[s] have
                   many effects including antioxidant activity and anti-inflammatory
 7
                   properties.” (Emphasis in original).
 8
            59.    Defendants include cancer survival rate results on their Golden Sunrise Nutraceutical
 9
     website that compare Defendants’ Cancer treatment plan favorably to chemotherapy. Defendants
10

11 claim that these purported test results show:

12                 a)     “A total of 27-patients have been treated for various cancer after

13                 chemotherapy, radiation and surgery had been treated with poor outcomes. Golden
14                 Sunrise Nutraceutical provided CANCER Plan of Care to these patients that
15
                   improved their quality-of-life” (emphasis in original);
16
                   b)     In a chart with columns titled “Side-Effects” and “Quality of Life,” that their
17
                   Cancer treatment plan has no side effects and “good well-being” as the quality of
18

19                 life, while chemotherapy has “multiple toxic-effects and [h]ospitalization” as side-

20                 effects and “[p]oor overall-health” as quality of life; and

21                 c)     In a chart titled “CANCER Plan of Care STAGE-0, I, II, III, AND IV FOR
22
                   ALL TYPE[S] OF CANCER,” that patients using their Cancer treatment plan have
23
                   a two-year survival rate of 100% for Stage-I cancer, 86% for Stage-II cancer, 100%
24
                   for Stage-III cancer, and 60% for Stage-IV cancer. To reach these percentages,
25
                   Defendants use sample sizes ranging from one to seven purported patients.
26

27                 (Emphasis in original).

28          60.    Finally, Defendants also market their Metabolic and Cancer treatment plans as cures


                              FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 21
 1 for cancer through their Golden Sunrise Nutraceutical Facebook account.

 2                   a)      In a March 18, 2020 Facebook post, Defendants claim that their Metabolic
 3
                     treatment plan “is a preventive agent for cancer, and like other diseases it is mainly a
 4
                     metabolic problem.”
 5
                     b)      In a February 27, 2020 Facebook post, Defendants promote the cure-all
 6
                     claims on their Golden Sunrise Nutraceutical website and list “Cancer – CANCER
 7

 8                   Plan of Care” among the treatments they provide.

 9              Defendants’ Parkinson’s Disease Claims: Metabolic Plan of Care
10          61.      Defendants also market their Metabolic treatment plan as a cure for Parkinson’s
11
     disease.
12
            62.      To induce consumers to purchase their Metabolic treatment plan as a cure for
13
     Parkinson’s disease, Defendants have disseminated or caused to be disseminated advertisements
14

15 and marketing materials through their websites and social media accounts.

16          63.      Defendants promote two testimonial videos that tout their treatment plan as treating,

17 mitigating the symptoms of, or curing Parkinson’s disease. Both videos are accessible on

18 Defendants’ Golden Sunrise Nutraceutical website by clicking on a conspicuous “Testimonial”

19
     navigation menu and are posted on their Golden Sunrise Nutraceutical YouTube account.
20
            64.      These videos contain endorsements by a well-known musician who was diagnosed
21
     with Parkinson’s disease.
22

23          65.      In one video, titled “Parkinson’s Breakthrough with ImunStem and Aktiffvate,” the

24 musician states that he saw immediate improvement in his condition after taking Defendants’

25 products:

26
                     a)      “When I started taking Aktiffvate, the stumbling actually stopped the same
27
                     day I was taking it. . . . I did realize that every time I took it over the next few days,
28


                                 FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 22
 1                  then I would stop stumbling, and I wouldn’t get as much tremoring in my wrist and

 2                  everything else”; and
 3
                    b)        “When I took Aktiffvate, all I can say honestly and it doesn’t matter about
 4
                    star and celebrity and fame and all that, it’s just a matter of—it helped, and I say take
 5
                    it, try it.”
 6
            66.     The second video is an interview between the same musician and an interviewer:
 7

 8                  a)       Interviewer: “I say it tastes like WD-40 and licorice, but it works—it works;

 9                  and so with that said, this has helped you pick up the guitar again, it helped you with
10                  your beautiful voice again, how are you right now today as we speak? How much
11
                    playing are you doing?”
12
                             Musician: “Well I’m actually preparing to do a whole lot. I’m still sort of
13
                    [indecipherable] at home and recording, because I’m trying to put together some
14

15                  projects for Japan actually . . . I’ve got a bunch of gigs lined up . . . ”; and

16                  b)       Interviewer: “Check out Golden Sunrise Pharmaceuticals.com and everything

17                  they’ve done for people who are ailing with cancer, multiple sclerosis, ALS, and
18                  Parkinson’s.”
19
            67.     In addition to promotional videos, Defendants further promote their Metabolic
20
     treatment plan as a cure for Parkinson’s disease through a document titled “Insulin Resistance
21
     Cellular Restorative Results” available on their Golden Sunrise Nutraceutical website. This
22

23 document states that “Golden Sunrise Nutraceutical’s METABOLIC Plan of Care, with Golden

24 Sunrise Nutraceutical’s products produced a significant response in 99% of their patients,” and

25 provides a list of conditions including Parkinson’s Disease that see a “reduction of symptoms in

26
     patient[s] with [the] condition[].” (Emphasis in original).
27
            68.     Defendants also market their Metabolic treatment plan as a cure for Parkinson’s
28
     disease through their Golden Sunrise Nutraceutical Facebook account.

                                   FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 23
 1                  a)     In a March 18, 2020 post, Defendants claim that their “METABOLIC

 2                  Nursing Plan is a carefully planned treatment plan that uses herbal treatments to treat
 3
                    chronic diseases such as hypertension, diabetes, peripheral neuropathy, Parkinson’s
 4
                    disease, multiple sclerosis, gastrointestinal disorders, mental illness at the cellular
 5
                    level Schizophrenia, Lyme disease, etc.”
 6
                    b)     In a February 27, 2020 Facebook post, Defendants promote their Golden
 7

 8                  Sunrise Nutraceutical homepage’s cure-all claims, which include listing Parkinson’s

 9                  disease among the conditions they treat.
10          69.     Based on the facts and violations of law alleged in this Complaint, the FTC has
11
     reason to believe that Defendants are violating or are about to violate laws enforced by the
12
     Commission.
13
                                     VIOLATIONS OF THE FTC ACT
14

15          70.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts or

16 practices in or affecting commerce.”

17          71.     Misrepresentations or deceptive omissions of material fact constitute deceptive acts
18 or practices prohibited by Section 5(a) of the FTC Act.

19
            72.     Section 12 of the FTC Act, 15 U.S.C. § 52, prohibits the dissemination of any false
20
     advertisement in or affecting commerce for the purpose of inducing, or which is likely to induce,
21
     the purchase of food, drugs, devices, services, or cosmetics. For the purposes of Section 12 of the
22

23 FTC Act, 15 U.S.C. § 52, the constituent ingredients of each “plan of care” described above are

24 each a “food” or a “drug” as defined in Section 15(b) and (c) of the FTC Act, 15 U.S.C. § 55(b) and

25 (c).

26
                                                Count I
27                            False and Unsubstantiated Disease Claims: COVID-19

28          73.     In numerous instances in connection with the advertising, marketing, promotion,


                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 24
 1 offering for sale, or sale of Defendants’ treatment plans, including through the means described in

 2 Paragraphs 37—48, Defendants have represented, directly or indirectly, expressly or by implication,

 3 that the Emergency D-Virus treatment plan effectively treats, mitigates the symptoms of, or cures

 4 COVID-19.

 5          74.     The representation set forth in Paragraph 73 is false or misleading or was not

 6 substantiated at the time the representation was made.

 7          75.     Therefore, the making of the representation as set forth in Paragraph 73 of this

 8 Complaint constitutes a deceptive act or practice and the making of false advertisements in violation

 9 of Sections 5(a) and 12 of the FTC Act, 15 U.S.C. §§ 45(a) and 52.

10                                                 Count II
                         False and Unsubstantiated Claims for Serious Diseases: Cancer
11
            76.     In numerous instances in connection with the advertising, marketing, promotion,
12
     offering for sale, or sale of Defendants’ treatment plans, including through the means described in
13
     Paragraphs 18—20 and 49—60, Defendants have represented, directly or indirectly, expressly or by
14
     implication, that their Metabolic and Cancer treatment plans effectively treat, mitigate the
15
     symptoms of, or cure cancer.
16
            77.     The representation set forth in Paragraph 76 is false or misleading or was not
17
     substantiated at the time the representation was made.
18
            78.     Therefore, the making of the representation as set forth in Paragraph 76 of this
19
     Complaint constitutes a deceptive act or practice and the making of false advertisements in violation
20
     of Sections 5(a) and 12 of the FTC Act, 15 U.S.C. §§ 45(a) and 52.
21
                                             Count III
22
              False and Unsubstantiated Claims for Serious Diseases: Parkinson’s Disease
23
            79.     In numerous instances in connection with the advertising, marketing, promotion,
24
     offering for sale, or sale of Defendants’ treatment plans, including through the means described in
25
     Paragraphs 18—20 and 61—68, Defendants have represented, directly or indirectly, expressly or by
26
     implication, that their Metabolic treatment plan effectively treats, mitigates the symptoms of, or
27
     cures Parkinson’s disease.
28
            80.     The representation set forth in Paragraph 79 is false or misleading or was not

                               FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 25
 1 substantiated at the time the representation was made.

 2           81.    Therefore, the making of the representation as set forth in Paragraph 79 of this

 3 Complaint constitutes a deceptive act or practice and the making of false advertisements in violation

 4 of Sections 5(a) and 12 of the FTC Act, 15 U.S.C. §§ 45(a) and 52.

 5                                             Count IV
             False Claims about the Use for Which the FDA Cleared Golden Sunrise Products
 6
             82.    In numerous instances in connection with the advertising, marketing, promotion,
 7
     offering for sale, or sale of Golden Sunrise products, including through the means described in
 8
     Paragraphs 22—24 and 47, Defendants represent, directly or indirectly, expressly or by implication,
 9
     that:
10
                    a)      Defendants’ products have been reviewed and accepted by the FDA;
11
                    b)      The FDA designated their products as Regenerative Medicine Advanced
12
                    Therapies; and
13
                    c)      The FDA’s designation signifies that Defendants’ products are safe and
14
                    effective.
15
             83.    The representations set forth in Paragraph 82 are false.
16
             84.    Therefore, the making of the representation as set forth in Paragraph 82 of this
17
     Complaint is false and misleading, and constitutes a deceptive act or practice and the making of
18
     false advertisements in violation of Sections 5(a) and 12 of the FTC Act, 15 U.S.C. §§ 45(a) and 52.
19
                                            CONSUMER INJURY
20
             85.    Consumers are suffering, have suffered, and will continue to suffer substantial injury
21
     as a result of Defendants’ violations of the FTC Act. In addition, Defendants have been unjustly
22
     enriched as a result of their unlawful acts or practices. Absent injunctive relief by this Court,
23
     Defendants are likely to continue to injure consumers, reap unjust enrichment, and harm the public
24
     interest.
25
                              THIS COURT’S POWER TO GRANT RELIEF
26
             86.    Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant
27
     injunctive and such other relief as the Court may deem appropriate to halt and redress violations of
28


                                 FEDERAL TRADE COMMISSION’S COMPLAINT - PAGE 26
 1 any provision of law enforced by the FTC. The Court, in the exercise of its equitable jurisdiction,

 2 may award ancillary relief, including rescission or reformation of contracts, restitution, the refund

 3 of monies paid, and the disgorgement of ill-gotten monies, to prevent and remedy any violation of

 4 any provision of law enforced by the FTC.

 5                                        PRAYER FOR RELIEF
 6          87.    Wherefore, Plaintiff FTC, pursuant to Section 13(b) of the FTC Act, 15 U.S.C.

 7 § 53(b), and the Court’s own equitable powers, requests that the Court:

 8                 a)      Award Plaintiff such preliminary injunctive and ancillary relief as may be

 9                 necessary to avert the likelihood of consumer injury during the pendency of this

10                 action and to preserve the possibility of effective final relief, including temporary

11                 and preliminary injunctions;

12                 b)      Enter a permanent injunction to prevent future violations of the FTC Act;

13                 c)      Award such relief as the Court finds necessary to redress injury to consumers

14                 resulting from Defendants’ violations of the FTC Act, including but not limited to,

15                 rescission or reformation of contracts, restitution, the refund of monies paid, and the

16                 disgorgement of ill-gotten monies; and

17                 d)      Award Plaintiff the costs of bringing this action, as well as such other and

18                 additional relief as the Court may determine to be just and proper.

19                                                Respectfully submitted,

20                                                ALDEN F. ABBOTT
                                                  General Counsel
21

22 Dated: July 30, 2020                           /s/ Zachary A. Keller /s/
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